                                           21    MJ   14




Case 2:21-mj-00014-WEC Filed 01/08/21 Page 1 of 6 Document 1
AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT AND ARREST WARRANT

       I, Daniel Gartland, being first duly sworn on oath, on information and belief state:

I.     INTRODUCTION, BACKGROUND, TRAINING, AND EXPERIENCE

       1.      I am a Special Agent with the Federal Bureau of Investigation (FBI) and have been

since May 2018. Since October 2018, I have been assigned to the FBI’s Milwaukee Area Violent

Crimes Task Force. This Task Force is a multi-jurisdictional law enforcement entity charged with

investigating violations of federal law, including bank robberies, commercial robberies and other

violent crime matters, defined under Title 18 of the United States Code. I have been trained in a

variety of investigative and legal matters, including the topics of Fourth Amendment searches, the

drafting of search warrant affidavits, and probable cause. I have assisted in criminal investigations,

participating in analysis of telephone records, surveillance, interviews, and debriefs of arrested

subjects. As a result of this training and investigative experience, I have learned how and why

violent actors typically conduct various aspects of their criminal activities.

       2.      Based on the investigation to date, I believe there is probable cause that NICOLAS

ULLOA (DOB XX/XX/1996) conspired with at least one other person to commit and committed

the bank burglary and bank theft at BMO Harris Bank, 7501 West North Avenue, Wauwatosa,

Wisconsin on January 7, 2021, in violation of Title 18, United States Code, Sections 2113(a),

2113(b), and 2.

       3.      This affidavit is based upon my personal knowledge, training, and experience, and

on information reported to me by other federal, state, and local law enforcement officers during

the course of their official duties, all of whom I believe to be truthful and reliable. This affidavit

is also based upon police reports, official records, citizen witness statements, business records,

search warrants, recorded statements, surveillance video, text messages, court records, and

telephone records, which I consider to be reliable as set forth herein.




            Case 2:21-mj-00014-WEC Filed 01/08/21 Page 2 of 6 Document 1
       4.      Because this affidavit is submitted for the limited purpose of obtaining a criminal

complaint and arrest warrant, I have not included each and every fact known to me concerning this

investigation. I have attempted to set forth only the facts that I believe are pertinent to establishing

the necessary foundation for the complaint and corresponding arrest warrant.

II.    PROBABLE CAUSE

       5.      On or about November 2, 2020, your affiant learned that the FBI in Texas had

identified a large groups of individuals, mostly based out of Houston, Texas, that had been

committing bank burglaries and bank thefts across the country. The group’s modus operandi

included the use of stolen vehicles, generally pickup trucks, configured with hooks and chains to

force open bank ATM’s and steal money from the safe contained within the ATM. To date, law

enforcement in various states are aware of over 800 incidents that have occurred since September

24, 2018, involving similar modus operandi, over 500 of the incidents occurred in Houston, Texas,

and the surrounding area. I am aware of the following incident in the State and Eastern District of

Wisconsin that involves the same or similar modus operandi.

       6.      On January 7, 2021, at approximately 4:43 a.m., two unidentified male subjects

(UNSUBS-W) attempted a burglary of the BMO Harris Bank, 7501 West North Avenue,

Wauwatosa, WI, 53213. UNSUBS-W approached the drive-up ATM in a stolen white 1999 Ford

F250 truck, bearing Wisconsin registration plate PX9426 (hereinafter, “F250”). The truck was

reported stolen from Milwaukee, Wisconsin, on January 7, 2021. Two UNSUBS-W exited the

F250 and used tools to pry open the access door to the ATM. UNSUBS-W then hooked chains to

the ATM vault. F250 accelerated away from the ATM, which dislodged the ATM vault door.

UNSUBS-W removed cassettes from the ATM and fled in the F250 with approximately $8,380.

       7.      In the Wauwatosa, Wisconsin, incident, the first UNSUB-W (UNSUB #1-W) was

observed on surveillance video wearing a dark gray hooded sweatshirt with the hood up, black or

                                                   2

            Case 2:21-mj-00014-WEC Filed 01/08/21 Page 3 of 6 Document 1
gray pants, and dark colored gloves. UNSUB#1-W approached the ATM as the F250 positioned

itself perpendicular to the ATM. UNSUB-W (UNSUB #2-W) was observed on surveillance video

wearing a dark gray hooded sweatshirt with the hood up, black or gray pants and gray or white

gloves. UNSUB #2-W exited the driver seat of the F250 after positioning it perpendicular to the

ATM.

        8.      The Wauwatosa Police Department (WPD) responded to the burglary. At

approximately 4:48 a.m., WPD officers pursued the F250, which crashed into a tree at 2238 North

73rd Street, Wauwatosa, approximately two minutes later. Occupants of the vehicle fled on foot,

leaving U.S. currency in the vehicle. The driver fled west in the direction back towards the bank.

NICOLAS ULLOA of Houston, Texas, (DOB XX/XX/1996) was taken into custody, west of the

location of the F250 crash, between 7501 West North Avenue, the address of the bank, and 7442

Watson Avenue, Wauwatosa, WI, 53213. U.S. currency was recovered near ULLOA’S arrest

location. The passenger fled east through the yards of homes on Watson Avenue and evaded WPD

officers.

        9.      A white Chrysler Pacifica (hereinafter, “Pacifica”) with unknown rear registration

plate and no front plate, was observed on Milwaukee County Transit Authority bus surveillance

video traveling in close proximity to the F250 at 4:40 a.m., three minutes prior to the ATM

burglary. The Pacifica was observed on WPD squad car video traveling and making turns in

conjunction with the F250 during the pursuit. After a pursuit of the Pacifica, which involved

speeds in excess of 100 miles per hour, the Pacifica eluded police in the area of North 88th Street

and West Burleigh Street in Milwaukee.

        10.     ULLOA was arrested on November 27, 2019, by the Houston Police Department

in relation to the burglary of an ATM in Houston, Texas. The burglary involved a similar modus




                                                3

             Case 2:21-mj-00014-WEC Filed 01/08/21 Page 4 of 6 Document 1
operandi to the incident in Wauwatosa. ULLOA was released from custody in Houston, Texas,

on a $60,000 cash bond at the time of his arrest in Wauwatosa, WI.

        11.    WPD obtained a warrant in the State of Wisconsin to search the F250. Officers

seized a black Samsung Galaxy cellular telephone during the search.

        12.    WPD obtained a warrant in the State of Wisconsin to search the Samsung Galaxy

cellular telephone seized from the F250. A forensic analysis of the cellular telephone revealed the

telephone number associated with the device to be 832-740-7744 (hereinafter, “Telephone 7744”).

Further analysis revealed a screenshot for the google location information for “ATM (BMO Harris

Bank),” including the address 7501 West North Avenue, Wauwatosa, WI, 53213. The phone also

contained multiple screenshots of bank ATM google location information in the State of Ohio.

        13.    Call logs obtained from the forensic analysis of Telephone 7744 reveal it called the

cellular telephone number 346-616-3354 (hereinafter, “Telephone 3354”) at 3:55 a.m. on January

7, 2021. At 3:59 a.m. that same day, Telephone 3354 called Telephone 7744. The duration of the

call lasted approximately 22 minutes. The telephones also exchanged calls at 4:22 a.m. and 4:24

a.m. The ATM burglary in Wauwatosa occurred at approximately 4:43 a.m. At 4:54 a.m.,

Telephone 3354 called Telephone 7744, and the call was listed as a “missed call” on Telephone

7744.

        14.    The records reflect that Telephone 7744’s user, believed to be ULLOA, began using

Telephone 7744 on or around December 9, 2020. Since that time, the forensic analysis of

Telephone 7744 reflected only three other occasions in which Telephone 7744 engaged in calls

between the hours of 2:00 a.m. and 5:00 a.m. On December 14, 2020, and December 19, 2020,

between 2:00 a.m. and 5:00 a.m., Telephone 7744 engaged in multiple calls. On January 3, 2021,

the day before, Telephone 7744 captured the screenshots of ATM bank locations in Ohio,

Telephone 7744 and Telephone 3354 were in contact between 2:00 a.m. and 5:00 a.m. Based on

                                                4

          Case 2:21-mj-00014-WEC Filed 01/08/21 Page 5 of 6 Document 1
the use of multiple vehicles and multiple actors throughout the incident, investigators believe the

telephone activity was reflective of subjects communicating prior to, during, and after bank

burglary incidents.

       15.     Instant messages obtained from forensic analysis of Telephone 7744 reveal it sent

three messages to Telephone 3354 on January 4, 2020. The messages contained screen shots of

google location information for ATMs located in Columbus, Ohio. Telephone 7744 also sent and

received messages from telephone number 832-202-5149 (hereinafter, “Telephone 5149”). In one

such message, the user of Telephone 5149 referred to the user of Telephone 7744 as “brother.”

While in custody at WPD, ULLOA provided Telephone 5149 as belonging to his sister, Lucille

Ulloa, which would further reflect ULLOA’s use of Telephone 7744. Law enforcement databases

identify the user of Telephone 5149 as Lucia Ulloa of Crosby, Texas.

       16.     During a mirandized interview, ULLOA admitted to driving the F250 to the BMO

Harris Bank, 7501 West North Avenue, in Wauwatosa, with the intention of burglarizing the drive-

up ATM. ULLOA further admitted to taking money from the ATM and fleeing in the F250 and

on foot.

III.   CONCLUSION

       17.     Based on the investigation to date, I believe there is probable cause to believe that

NICOLAS ULLOA (DOB XX/XX/1996) conspired with at least one other person to commit and

committed the bank burglary and bank theft at BMO Harris Bank, 7501 West North Avenue,

Wauwatosa, Wisconsin, on January 7, 2021, in violation of Title 18, United States Code, Sections

2113(a), 2113(b), and 2.




                                                 5

           Case 2:21-mj-00014-WEC Filed 01/08/21 Page 6 of 6 Document 1
